                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF ALASKA

SHARALYN WRIGHT,                                   Case No. 3:15-CV-0096-TMB
          Plaintiff,
                                                   (Consolidated with
                                                   Case No. 3:16-cv-0046-TMB)
               vs.
                                                   ORDER (PROPOSED)
UNUM LIFE INSURANCE COMPANY
OF AMERICA,
           Defendant.



       UPON CONSIDERATION of the stipulation of the parties, this matter is dismissed

with prejudice with each party to bear its own costs and attorney fees.

       IT IS SO ORDERED.

       DONE this ___ day of _____________________, 2017.




                                             _______________________________________
                                             Timothy M. Burgess
                                             United States District Court Judge




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